   Case 1:23-cv-05875-JGK-VF          Document 128       Filed 04/04/24     Page 1 of 17




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 D. G. Sweigert,                                             PRO SE

                   -against-                          23-cv-05875-JGK-VF

 Jason Goodman,                                        Judge John G. Koeltl

                                               Related Case: 23-cv-06881-JGK-VF


                       PLAINTIFF’S RESPONSE TO DEFENDANT’S
                          MOTION FOR RECONSIDERATION




The pro se Plaintiff now complies with the 3/25/2024 Memo Endorsement, ECF no. 125. On

3/08/2024, the Defendant filed his motion papers at ECF no. 120 and 121, to which this

document responds.


Signed April 4, 2024 (4/04/2024)



                                              D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                         PMB 13339, 514 Americas Way,
                                                                  Box Elder, SD 57719

                               CERTIFICATE OF SERVICE

Copy of this pleading has been placed in the U.S. MAIL addressed to Jason Goodman, 252 7th

Avenue, Unit 6-S, New York, N.Y. 10001 on April 4, 2024 (4/04/2024). Signed April 4, 2024

(4/04/2024)




                      D. G. SWEIGERT PRO SE PLAINTIFF, C/O PMB 13339,
                          514 Americas Way, Box Elder, SD 57719


                                              1
    Case 1:23-cv-05875-JGK-VF                        Document 128               Filed 04/04/24            Page 2 of 17




                                               TABLE OF CONTENTS




TABLE OF AUTHORITIES...................................................................................................3

INTRODUCTION ...................................................................................................................5

BACKGROUND ......................................................................................................................6

LAW AND ARGUMENT ...................................................................................................... 13

CONCLUSION ...................................................................................................................... 17




                                                                 2
    Case 1:23-cv-05875-JGK-VF                          Document 128                Filed 04/04/24              Page 3 of 17




                                              TABLE OF AUTHORITIES


Cases

Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (cleaned up) . 15

Aponte v. City of N.Y. Dep't of Corr. , 377 Fed.Appx. 99, 100 (2d Cir. 2010) ........................... 14

Boule v. Hutton , 328 F.3d 84, 95 (2d Cir. 2003) ...................................................................... 14

Doe v. Snap, Inc., No. 22-20543 (5th Cir. Jun. 26, 2023) ......................................................... 11

Fleming v. N.Y. Univ., 865 F.2d 478, 484 (2d Cir. 1989) .......................................................... 15

Fleming, 865 F.2d at 484 ......................................................................................................... 15

Goodman v. Bouzy et al, 21-cv-10878-AT-JLC (SDNY) ......................................................... 15

Goodman v. Bouzy, 21-cv-10878-AT-JLC (SDNY) ...................................................................6

Goodman v. Sharp et al, 21-cv-10627-VEC (SDNY) ............................................................... 15

Goodman v. The City of New York et al., 23-cv-09648-JGLC-GWG (SDNY) ............................8

Int'l Bhd. of Teamsters, 247 F.3d at 391; Pal v. Apfel, 14 Fed. App. 113, 114 (2d Cir. 2001) ...14

Madonna v. United States, 878 F.2d 62, 64 (2d Cir. 1989) ....................................................... 14

Murthy v. Missouri, 144 S. Ct. 7 (2023) ................................................................................... 10

Nemaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986) .................................................................. 13

Newmaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986) ................................................................ 14

Pichardo v. Ashcroft, 374 F.3d 46, 55 (2d Cir. 2004) ............................................................... 13

Ren Yuan Deng v. New York State Off. of Mental Health, 783 F.App'x. 72, 73 (2d Cir. 2019) .. 13

Robert F. Kennedy, Jr. v. Biden, CASE NO. 3:23-CV-00381 (W. D. La) ................................. 10

State St. Bank & Trust Co. v. Inversiones Errazuriz Limitada, 374 F.3d 158, 176 (2d Cir. 2004)

   (citation omitted).................................................................................................................. 15

                                                                    3
    Case 1:23-cv-05875-JGK-VF                           Document 128                 Filed 04/04/24              Page 4 of 17




State v. Biden, 80 F.4th 641, 653 (5th Cir.) .............................................................................. 10

State v. Biden, 80 F.4th 641, 653 (5th Cir.), opinion withdrawn and superseded on reh’g, 83

   F.4th 350 (5th Cir. 2023), cert. granted sub nom................................................................... 10

Sweigert, et al v. Electronic Systems, et al 92-cv-00010-SSB-MRM (SD Ohio) .........................7

United States ex. rel. Sweigert v. Electronic Systems Associates............................................... 13

United States of America, Ex Rel. David George Sweigert, plaintiff-appellant, v. Electronic

   Systems Associates, Inc.; Lemuel Kinney ,defendants-appellees, 85 F.3d 630 (6th Cir. 1996) .7

United States v. Lemuel Kinney and Electronic Systems & Associates, Inc., CR No.94-00057A13

United States vs. Joseph Romello, CR No. 92-00418A.............................................................. 13

Whitaker v. N.Y. Univ. , 543 Fed.Appx. 113, 114 (2d Cir. 2013) .............................................. 14

Statutes

42 US Code § 1983....................................................................................................................8

Rules

F.R.C.P. Rule 60(b) ................................................................................................................. 13

F.R.C.P. Rule 60(b)(2) and (3) ................................................................................................. 12

Fed. R. Civ. Proc. Rule 11 .........................................................................................................5

Rule 60(b)(2) ........................................................................................................................... 14

Rule 60(b)(3) ........................................................................................................................... 14

Treatises

THE WEAPONIZATION OF THE NATIONAL SCIENCE FOUNDATION: HOW NSF IS
 FUNDING THE DEVELOPMENT OF AUTOMATED TOOLS TO CENSOR ONLINE
 SPEECH “AT SCALE” AND TRYING TO COVER UP ITS ACTIONS. .............................7



                                                                     4
   Case 1:23-cv-05875-JGK-VF             Document 128         Filed 04/04/24      Page 5 of 17




                       PLAINTIFF’S RESPONSE TO DEFENDANT’S
                           MOTION FOR RECONSDERATION




Jason Goodman, having spent twenty (20) years in Los Angeles working in the Hollywood film

industry, has a baked-in flair for the dramatic and theatrical. To this end, Mr. Goodman accuses

the Plaintiff of being a state actor for the U.S. National Institute of Health (N.I.H.).

Nonetheless, Plaintiff has affirmed under oath (again) that he has nothing to do with the N.I.H.

past, present or future. See accompanying DECLARATION OF THE PLAINTIFF and

EXHIBITS ANNEX (filed concurrently with this pleading).

                                        INTRODUCTION

Familiarization with the facts and procedural history is presumed.

Very early in this litigation (11/07/2023) Defendant Jason Goodman, operator of the

“Crowdsource The Truth” brand of social media podcasts, sought sanctions against the Plaintiff

pursuant to Fed. R. Civ. Proc. (F.R.C.P.) Rule 11 with motion papers at ECF 60 (23-cv-05875)

and ECF 53 (23-cv-6881) (herein collectively referred to as [DOC. 62]). The Court denied

DOC. 62 with ORDER at ECF no. 73 filed 11/16/2023.

With his latest pleading, “NOTICE OF MOTION SEEKING RELIEF FROM ORDER, re: for

Reconsideration of its denial of sanctions”, ECF no. 120 (3/08/2024), (herein Recon) Goodman

now seeks reconsideration of ORDER ECF no. 73. Subsequently, ORDER ECF no. 125

(3/25/2024) directed the Plaintiff to respond to Goodman’s Recon prior to April 8, 2024. The

pro se Plaintiff now complies by providing the following.




                                                  5
     Case 1:23-cv-05875-JGK-VF         Document 128        Filed 04/04/24      Page 6 of 17




                                       BACKGROUND

1.      The Court will recall the Defendant’s DOC. 62 presented an expansive history of

Goodman’s perceived legal slights. As customary with Goodman, DOC. 621 is riddled with a

barrage of insults, disparaging characterizations, criminal accusations, name calling and

conclusory allegations. For example: Goodman relitigates his lawsuit with Robert David Steele

(RDS), an ex-intelligence officer of the Central Intelligence Agency (C.I.A.), a resident of

Virginia (who sued Goodman for defamation) and blames the Plaintiff’s brother (George Webb

Sweigert) for bringing “RDS” into his life2 (p. 8, BACKGROUND, DOC. 62). Goodman then

accuses the Plaintiff of “inappropriately insinuating himself” into Goodman v. Bouzy, 21-cv-

10878-AT-JLC (SDNY) (p. 10, ¶ Rule 11(b)(1), DOC. 62) in which Goodman sued the

Plaintiff as a co-defendant with several others. Goodman also alleges Plaintiff “coordinates a

network of individuals who approach and harass Goodman on the streets of New York City and

elsewhere”3 (p. 11, ¶ unnumbered, DOC. 62).

2.      In DOC. 62 Goodman seeks penalties against the Plaintiff for the actions of Plaintiff’s

brother, “Rule 11(b)(3) and (4). Plaintiff attempts to deceive the Court with denials

surrounding a filing in the Eastern District of Michigan (“MIED”). In another violation of Rule

11, plaintiff’s brother, co-defendant Webb, filed an action against Cable News Network, Inc

(“CNN”) in the MIED [Eastern District of Michigan] on October 31, 2020, (See Case 2:20-cv-

12933-GAD-KGA)4”(p. 15, ¶ Rule 11(b)(3) and (4), DOC. 62).



1
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23
2
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 8-9 of 26
3
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 11 of 26
4
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 15 of 26
                                                6
     Case 1:23-cv-05875-JGK-VF           Document 128       Filed 04/04/24      Page 7 of 17




3.      Then Goodman recounts his visits to the Detroit (Michigan) Police Department and the

Federal Bureaus of Investigation (in Detroit) to investigate the Plaintiff’s brother (George Webb

Sweigert) and the pro se advocate for the M.I.E.D. court (Richard Loury) (p. 15, unnumbered5,

DOC. 62).

4.      Then Goodman provides a rehash of a thirty (30) year old qui tam action correctly

known as United States of America, Ex Rel. David George Sweigert, plaintiff-appellant, v.

Electronic Systems Associates, Inc.; Lemuel Kinney ,defendants-appellees, 85 F.3d 630 (6th Cir.

1996), or as described in DOC. 62 and Recon papers as Sweigert v. Electronic Systems

Associates 6 (Sweigert, et al v. Electronic Systems, et al 92-cv-00010-SSB-MRM (SD Ohio)) (p.

21, ¶ Factor Three7).

5.      In light of this grab-bag of unrelated issues, the Court rightly denied Goodman’s DOC.

62 request for relief. Unfortunately, Goodman’s Recon is as fatally flawed as was his DOC. 62.

6.      Goodman’s Recon papers follow his DOC. 62 formula of insults (“Sweigert is a

psychopathic cyberstalker8)” (p. 2, ¶ 9, Recon) coupled with outlandish demands (“He must be

enjoined if not criminally charged and ultimately incarcerated for his abhorrent, continuous,

ongoing abuse”9) (p. 3, ¶ 11, Recon). Goodman recommends the Court issue a “criminal

referral” for “forgery and fraud on the court” and other misdeeds related to litigation in the

M.I.E.D. action10 (p. 6, ¶ 33, Recon).




5
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 15 of 26
6
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 21 of 26
7
  Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 21 of 26
8
  Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 2 of 15
9
  Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
10
   Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 15 of 26
                                                 7
      Case 1:23-cv-05875-JGK-VF         Document 128        Filed 04/04/24     Page 8 of 17




7.       Goodman also chastises the Court in that it “aided in this wrongful termination of

Goodman’s access to valuable YouTube accounts which Goodman relied on to earn income.11”

(p. 3, ¶ 16, Recon). Mr. Goodman then complains about “ex parte” communications between

Twitter and ALPHABET, INC., which supposedly resulted in the loss of the “valuable” non-

revenue, non-monetized social media accounts based on subscriber terms and conditions

agreements that allow platform providers to terminate accounts at any time without any

explanation.

8.       Mr. Goodman cites in his Recon12 an irrelevant 79-page Congressional report about

“misinformation, disinformation and malformation” that concerns the National Science

Foundation (N.S.F.)13 (herein NSF Report) (p. 4, ¶ 21, Recon).

9.       Then Goodman pushes a completely false narrative on to this Court that:

         “As an NIH employee, contractor or agent, Sweigert acted in violation at the time of a
         standing order from the U.S. District Court for the Western District of Louisiana and the
         Fifth Circuit Appellate Court. (See Missouri v. Biden, 83 F.4th 350 (5th Cir. 2023))”
         (p. 3, ¶ 18, Recon)14

10.      With these words Goodman appears to be accusing the Plaintiff of being a state actor of

the U.S. National Institute of Health (N.I.H.). Interestingly, Mr. Goodman is the pro se plaintiff

in a S.D.N.Y. “state actor” lawsuit pending against the New York Police Department, Goodman

v. The City of New York et al., 23-cv-09648-JGLC-GWG (SDNY). In the Goodman v. NYC



11
    Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
12
    Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 4 of 15
13
   Para 21. On or about March 5, 2024, the U.S. House of Representatives Judiciary
Committee punished a report titled, “THE WEAPONIZATION OF THE NATIONAL
SCIENCE FOUNDATION: HOW NSF IS FUNDING THE DEVELOPMENT OF
AUTOMATED TOOLS TO CENSOR ONLINE SPEECH “AT SCALE” AND TRYING TO
COVER UP ITS ACTIONS.” (See https://judiciary.house.gov/sites/evo-subsites/republicans-
judiciary.house.gov/files/evo-media-document/NSF-Staff-Report_Appendix.pdf)
14
   Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
                                                 8
      Case 1:23-cv-05875-JGK-VF         Document 128        Filed 04/04/24      Page 9 of 17




original complaint15, ECF no. 1, the heading, “Violation of Plaintiff’s Constitutional Rights

Pursuant to 42 US Code § 1983” appears. The term “1983” appears nine (9) times in ECF no.

1, referring to Section 1983 of “state actor” civil rights law. The latest show cause order from

that action appears as EXHIBIT A16 (Exh. A) in the accompanying EXHIBITS ANNEX.

11.      Goodman’s concocted narrative (“plaintiff is a state actor”) is wholly untrue and

demonstrates Goodman’s intent to mislead this Court in stating as fact that the Plaintiff is a state

actor working at N.I.H. As Mr. Goodman knows, (a) the Plaintiff is NOT an employee,

contractor or agent of N.I.H. and (b) the “standing order” of the Louisiana court (Missouri v.

Biden) contained NO prohibitions against filing a legal action, in any way, shape or form.

12.      By sworn statement on 1/29/2024, the Plaintiff informed the district court in the

Southern District of Indiana and Goodman that the Plaintiff was NOT an N.I.H. state actor:

         “At para. 9 Mr. Goodman states, “9. On or around October 2023, Goodman learned
         Sweigert has been employed as a contractor to the National Institutes of Health,
         (“NIH”) since September 2022. (EXHIBIT B)”. (Document 51 filed 01/26/24). The
         undersigned has never worked in any capacity for the U.S. National Institute of Health.
         [emphasis added] Case 1:24-cv-02203-JGK Document 56 Filed 01/29/24 Page 2 of
         317”
         See Exh. B in accompanying EXHIBIT ANNEX.

13.      Nonetheless, having this knowledge, Goodman states (two months later) “[a]s an NIH

employee, contractor or agent, Sweigert acted in violation at the time of a standing order from

the U.S. District Court for the Western District of Louisiana,” (p. 3, ¶ 18, Recon)18 but does not

provide a copy of the Louisiana operative order, neither does he explain how the Plaintiff may

have violated such order.


15
   Case 1:23-cv-09648-JGLC-GWG Document 1 Filed 10/31/23
16
   Case 1:23-cv-09648-JGLC-GWG Document 84 Filed 03/25/24 Page 1 of 2
17
   Legal action transferred to the S.D.N.Y. from the Southern District of Indiana
18
   Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
                                                 9
     Case 1:23-cv-05875-JGK-VF          Document 128         Filed 04/04/24      Page 10 of 17




14.     The so-called “order” referenced by Goodman is a preliminary injunction issued on

7/4/202319 by Hon. Terry A. Doughty, U.S. District Judge in Louisiana. That injunction

enjoined U.S. Government agencies from “meeting with social-media companies for the

purpose of urging, encouraging, pressuring, or inducing in any manner the removal, deletion,

suppression, or reduction of content containing protected free speech posted on social-media

platforms.20”

15.     In his Recon Goodman ambiguously refers to the order as associated with Missouri v.

Biden, which has a convoluted history (p.3, ¶ 18, Recon). In essence, Goodman is alleging that

the Plaintiff violated a 7/04/2023 injunction by filing this instant lawsuit as a state actor (alleged

N.I.H. agent). However, Judge Doughty’s 7/04/2023 injunction does not address litigation

within its ten (10) conditions, which are directed at U.S. Government agencies, not private

citizens. A copy of that “order” is attached as Exh. C in the EXHIBIT ANNEX.21

16.     Missouri v. Biden, as it is known in the lower court has become Murthy v. Missouri.

State v. Biden, 80 F.4th 641, 653 (5th Cir.), opinion withdrawn and superseded on reh’g, 83

F.4th 350 (5th Cir. 2023), cert. granted sub nom. Murthy v. Missouri, 144 S. Ct. 7 (2023)

17.     Interestingly, the same Judge Doughty denied Goodman’s 1/10/2024 attempt to

intervene in an action consolidated with Missouri v. Biden22, that of Robert F. Kennedy, Jr. v.

Biden, CASE NO. 3:23-CV-00381 (W. D. La)23. The Robert F. Kennedy action was




19
   Case 3:22-cv-01213-TAD-KDM Document 294 Filed 07/04/23
20
   Case 3:22-cv-01213-TAD-KDM Document 294 Filed 07/04/23 Page 4 of 7
21
   Case 3:22-cv-01213-TAD-KDM Document 294 Filed 07/04/23 Page 1 of 7 PageID #: 26947
22
   Case 3:23-cv-00381-TAD-KDM Document 27 Filed 07/24/23 Page 1 of 5 PageID #: 393
23
   Case 3:23-cv-00381-TAD-KDM Document 33 Filed 01/10/24
                                                 10
     Case 1:23-cv-05875-JGK-VF          Document 128        Filed 04/04/24      Page 11 of 17




consolidated with Missouri v. Biden on 7/23/202324. On 1/19/2024 Judge Doughty denied

Goodman’s Request for Reconsideration25 of his original order denying Goodman’s

intervention into that action. [Exh. D and E (orders of 1/10/2024 and 1/19/2024 respectively)].

18.     There are ten (10) restrictions in the July 4, 2023 injunction [Exh. C], none address

litigation between two private parties or in any form. Nonetheless, Goodman insists that merely

filing this lawsuit was a violation of that 7/04/2024 preliminary injunction. It clearly was not.

Therefore, Goodman has used this “standing order violation” ruse as an apparent smokescreen

to confuse this Court and the court in Louisiana.

19.     In said intervention motion papers [Exh. F] Goodman argued “[t]his application is

timely because in October 2023, Goodman learned that the plaintiff in Sweigert v. Goodman

[this instant case] is employed by the National Institute of Health (“NIH”). Goodman further

learned that the plaintiff sued in a deliberate attempt to circumvent this Court’s 7/4/2023

ruling.26” (p. 2, ¶ 4, Exh. F) [emphasis added].

20.     As stated in the Recon, the reference to the 7/4/2023 injunction by Judge Doughty is

obfuscated under a Fifth Circuit Court of Appeals decision, “U.S. District Court for the Western

District of Louisiana and the Fifth Circuit Appellate Court. (See Missouri v. Biden, 83 F.4th

350 (5th Cir. 2023))27” (p. 3, ¶ 18, Recon).

21.     To clarify the situation the Plaintiff leans on the wisdom of the Fifth Circuit as

expressed in footnote 3 of Doe v. Snap, Inc., No. 22-20543 (5th Cir. Jun. 26, 2023).




24
   ORDER consolidating Lead Case # 3:22-cv-1213 w/case #3:23-cv-0381. This order is filed as
document #316 in lead case #3:22-cv-1213. Signed by Judge Terry A Doughty on 7/24/2023.
(crt,Thomas, T) (Entered: 07/25/2023
25
   Case 3:23-cv-00381-TAD-KDM Document 37 Filed 01/19/24 Page 2 of 2
26
   Case 3:23-cv-00381-TAD-KDM Document 31-1 Filed 01/03/24 Page 2 of 9 PageID #: 427
27
   Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
                                                   11
     Case 1:23-cv-05875-JGK-VF         Document 128        Filed 04/04/24     Page 12 of 17




         “Large, modern-day internet platforms are more than willing to remove, suppress, flag,
         amplify, promote, and otherwise curate the content on their sites in order to cultivate
         specific messages. See Missouri v. Biden, 83 F.4th 350, 392 (5th Cir. 2023), cert.
         granted, No. 23-411, 2023 WL 6935337 (S. Ct. Oct. 20, 2023) (finding numerous
         platforms likely restricted protected speech on their sites as a result of government
         pressure).” [emphasis added]

22.      Nevertheless, Goodman boldly proclaims in his Louisiana motion papers “NIH HAS

ATTEMPTED TO CIRCUMVENT THIS COURT’S ORDER” (p. 7, 33, Exh. F).

Goodman obviously knew the orders of Missouri v. Biden were inapplicable to the Plaintiff for

merely docketing a lawsuit. Goodman has simply grafted the Plaintiff into his government

censorship conspiracy theory, which he constantly promotes as “COUNTER LAWFARE” on

his for-profit social media podcasts, to include PATREON pay-per-view [Exh. G]. For those

who traffic in such conspiracy theories on social media [Exh.. G] Government censorship

theories are good business, which explains references to the irrelevant NSF Report by

Goodman.

23.      The Court is unlikely to see the relevancy of Goodman’s N.I.H. Missouri v. Biden

“standing order” narrative to this legal action. That’s because it is not relevant. However, the

Court should understand that Goodman uses his court pleadings as a script for his

COUNTERLAWFARE broadcasts on the PATREON.com paywall service using credit card

technology in a pay-per-view fashion. On his live video podcasts, Goodman walks his audience

through his pleadings step-by-step. This PATREON process is fully described in the Amended

Complaint (p. 27-29, ¶ 48 to 52)28.Goodman’s pleadings are intended to create false narratives

for PATREON podcasts which use the S.D.N.Y. as his theatrical stage.




28
     Case 1:23-cv-06881-JGK-VF Document 12 Filed 01/23/23 Page 27 of 72
                                                12
     Case 1:23-cv-05875-JGK-VF           Document 128        Filed 04/04/24      Page 13 of 17




24.       Finally, Goodman blames this Court for the independent actions taken by the parent

company of YouTube, ALPHABET, INC., for the loss of his non-revenue social media

channels, “Without justification or explanation, the Court has made itself complicit in these acts

and it must now reverse course lest if forfeit subject matter jurisdiction in this case” (p.4, 19,

Recon)29. The Plaintiff had nothing to do with these account terminations as explained in the

accompanying DECLARATION (¶ 6) and Exh. B30 in the EXHIBITS INDEX.

                                     LAW AND ARGUMENT

25.       The Defendant’s Motion for Reconsideration (Recon) at ECF no. 120 (to include a 14-

page Memorandum of Law at ECF no. 121) cites “F.R.C.P. Rule 60(b)(2) and (3)” to support

reconsideration of the ORDER at ECF no. 73.

26.       Motions for reconsideration represent a high bar for a movant to reach. The Second

Circuit has cautioned that Rule 60(b) motions are disfavored and should be granted only upon a

showing of exceptional circumstances. See Pichardo v. Ashcroft, 374 F.3d 46, 55 (2d Cir.

2004).

Standards for Rule 60 relief

27.       Relief under Rule 60 is considered “extraordinary judicial relief.” Nemaizer v. Baker,

793 F.2d 58, 61 (2d Cir. 1986). The Second Circuit has held that Rule 60(b) is “a mechanism

for ‘extraordinary judicial relief' invoked only if the moving party demonstrates ‘exceptional

circumstances.'” Ren Yuan Deng v. New York State Off. of Mental Health, 783 F.App'x. 72, 73

(2d Cir. 2019). “Accordingly, a party seeking relief under [Rule 60(b)] must show ‘highly

convincing' evidence in support of its motion, good cause for its ‘failure to act sooner,' and that




29
     Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 3 of 15
30
     Case 1:24-cv-02203-JGK Document 56 Filed 01/29/24 Page 2 of 3
                                                 13
     Case 1:23-cv-05875-JGK-VF         Document 128        Filed 04/04/24    Page 14 of 17




the nonmoving party would not suffer undue hardship.” Katz v. Mogus, No. 07 Civ. 8314

(PKC)(KNF), 2012 WL 263462, at *3 (S.D.N.Y. Jan. 25, 2012) (citation omitted).

28.      To meet this high burden, Mr. Goodman offers judicial decisions from qui tam litigation

over three (3) decades old that involved the Plaintiff and his former employer (Lemuel Kinney)

who was convicted of defrauding $1.2 million from the Central Intelligence Agency (C.I.A.),

United States ex. rel. Sweigert v. Electronic Systems Associates.31.

Rule 60(b)(2)

29.      Mr. Goodman fails to meet the Rule 60(b)(2) burden concerning the “newness” with

these “golden oldie” Ohio qui tam judicial orders as Goodman has already referenced the same

qui tam C.I.A. litigation four (4) months prior in his DOC. 6232.

30.      This means that Goodman was well aware of United States ex. rel. Sweigert v.

Electronic Systems Associates four (4) months ago when Goodman discussed the Ohio qui tam

action, and a magistrate’s order, in DOC. 6233. See “[a] magistrate judge recommended




31
   As noted in this Google book, (https://tinyurl.com/lemualkinney) documenting the successful
nomination of the Hon. Natalia M. Combs Greene (federal jurist) by the U. S. Congress, Senate,
Committee on Governmental Affairs, she recalled that during May 1990-December 1994, she
was a Senior Counsel, Trial Attorney for the U. S. Department of Justice, Fraud Section,
Criminal Division. In that capacity she recalled working on these cases: United States vs.
Joseph Romello, CR No. 92-00418A and United States v. Lemuel Kinney and Electronic
Systems & Associates, Inc., CR No.94-00057A.
Greene stated, “These matters, both of which resulted in guilty pleas involved a fraudulent
scheme by defendants to obtain monies from the government. The case presented complex and
interesting issues concerning fraud, money laundering and the Classified Information
Procedures Act (“CIPA”). Defendant Romello was a contracting officer and managed contracts
for the CIA and another intelligence agency in the intelligence community.”

32
     Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 21 of 26
33
     Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 21 of 26
                                                14
     Case 1:23-cv-05875-JGK-VF          Document 128        Filed 04/04/24      Page 15 of 17




dismissing the complaint for failure to comply with procedural requirements,” (p. 21, ¶ Factor

Three34, DOC. 62).

31.      Goodman now provides that Ohio qui tam magistrate’s order as Exhibit A (p. 7, Exh. A,

Recon)35 from the Electronic Systems Associates lawsuit Goodman discussed four (4) months

ago in DOC. 62. This lack of newness is a fatal flaw of the Recon.

32.      Evidence that was "clearly available" at the time of the judgment (here November 2023)

is "not ‘newly discovered’ " for the purposes of a motion under Rule 60(b)(2). Whitaker v. N.Y.

Univ. , 543 Fed.Appx. 113, 114 (2d Cir. 2013). "Rule 60(b)(2) provides relief when the movant

presents newly discovered evidence that could not have been discovered earlier and that is

relevant to the merits of the litigation." [emphasis added] Aponte v. City of N.Y. Dep't of Corr. ,

377 Fed.Appx. 99, 100 (2d Cir. 2010) (internal quotation marks omitted) (quoting Boule v.

Hutton , 328 F.3d 84, 95 (2d Cir. 2003) ). See Madonna v. United States, 878 F.2d 62, 64 (2d

Cir. 1989) (stating that Rule 60(b)(2) motion is properly based on new evidence of fraud or

mistake discovered after trial).

33.      Rule 60(b)(2) motions are addressed to the broad discretion of the court and are granted

"only upon a showing of exceptional circumstances." Newmaizer v. Baker, 793 F.2d 58, 61 (2d

Cir. 1986); see also Int'l Bhd. of Teamsters, 247 F.3d at 391; Pal v. Apfel, 14 Fed. App. 113,

114 (2d Cir. 2001); Savoie, 1999 WL 385749, at *1.

Rule 60(b)(3)

34.      Rule 60(b)(3) allows a court to grant relief from a judgment for fraud, misrepresentation,

or misconduct by an opposing party. Rule 60(b)(3) also creates a high bar for Goodman. "[A]




34
     Case 1:23-cv-05875-JGK-VF Document 62 Filed 11/07/23 Page 21 of 26
35
     Case 1:23-cv-06881-JGK-VF Document 105 Filed 03/08/24 Page 7 of 15
                                                 15
  Case 1:23-cv-05875-JGK-VF             Document 128         Filed 04/04/24      Page 16 of 17




Rule 60(b)(3) motion cannot be granted absent clear and convincing evidence of material

misrepresentations and cannot serve as an attempt to relitigate the merits." Fleming v. N.Y.

Univ., 865 F.2d 478, 484 (2d Cir. 1989). A Rule 60(b)(3) movant "must show that the conduct

complained of prevented the moving party from fully and fairly presenting his case." State St.

Bank & Trust Co. v. Inversiones Errazuriz Limitada, 374 F.3d 158, 176 (2d Cir. 2004) (citation

omitted).

35.    Goodman provides no clear and convincing evidence to support his allegations of fraud

on the court, forgery and other misconduct. The movant must establish such fraud, forgery and

misconduct by clear and convincing evidence. [emphasis added] Fleming, 865 F.2d at 484

(finding district court did not abuse its discretion in denying Rule 60(b)(3) motion where that

motion was a "mixed bag, including some items of little probative value").

36.    “It is well-settled that [a motion for reconsideration] is not a vehicle for relitigating old

issues, presenting the case under new theories, securing a rehearing on the merits, or otherwise

taking a second bite at the apple. Rather, the standard for granting a . . . motion for

reconsideration is strict, and reconsideration will generally be denied unless the moving party

can point to controlling decisions or data that the court overlooked.” Analytical Surveys, Inc. v.

Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (cleaned up).

37.    To refresh the Court’s memory concerning Goodman’s litigation history the following

recap of recent court decision is provided.


 Goodman v. Sharp et al, 21-cv-10627-VEC (SDNY)                ORDER ECF 76 on 9/06/2022

        “Rather, Plaintiff has reasserted the same meritless arguments of fraud and attorney
        misconduct against Defendants that this Court has already dismissed. Accordingly,
        Plaintiff's motion for reconsideration is DENIED.”



                                                 16
  Case 1:23-cv-05875-JGK-VF            Document 128        Filed 04/04/24      Page 17 of 17




 Goodman v. Bouzy et al, 21-cv-10878-AT-JLC (SDNY)           ORDER ECF 278 on 2/21/2024

        “Goodman’s objections, ECF No. 272, are general, conclusory, and merely reiterate
        arguments he has made in previous objections and filings submitted to both the Court
        and Judge Cott.”


                                         CONCLUSION

38.    Goodman mischaracterized the order of Judge Doughty (Missouri v. Biden) to develop

an elaborate narrative that the plaintiff worked at the National Institute of Health (“NIH”) for

the purposes of broadcasting this intrigue on the “COUNTER LAWFARE” for-profit podcasts

at PATREON.

39.    Goodman’s theatrical trickery embodied in his Recon is obvious and requires this Court

to DENY such a jumble of irrelevancies. Clearly, Goodman has been informed, several times,

that the Plaintiff has never worked for the N.I.H. Moreover, the Court should strongly consider

sanctions against Goodman for filing the Recon papers, as they had no hope of being successful.

Smith v. Westchester Cty. Dep’t of Corr., 577 F. App’x 17, 18–19 (2d Cir. 2014) (affirming

sanctions against a party for filing a single motion for reconsideration because that motion had

no chance of success and “was made in bad faith”).

       Signed April 4, 2024 (4/04/2024)




                                                D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                           PMB 13339, 514 Americas Way,
                                                                    Box Elder, SD 57719




                                                17
